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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JOSEPH FORESTA                                  : CIVIL ACTION
                                                 :
                       v.                        : NO. 23-1379
                                                 :
 AIRBNB, INC.                                    :

                                              ORDER
       AND NOW, this 29th day of January 2024, upon considering defendant Airbnb, Inc.’s

motion to compel arbitration and to stay proceedings, and to dismiss for lack of personal

jurisdiction (DI 7), plaintiff’s response (DI 13), defendant’s reply (DI 14), following our

September 27, 2023 oral argument held with all counsel, and supplemental briefing (DI 18, 19),

it is ORDERED:

       1.       Defendant Airbnb, Inc.’s motion to dismiss for lack of personal jurisdiction (DI

7) is DENIED.

       2.       Defendant Airbnb, Inc.’s motion to compel arbitration and to stay proceedings

(DI 7) is GRANTED.

       3.       We order this case into arbitration per the terms of the parties’ agreements and

the Clerk of Court shall STAY this case.

       4.       The parties shall file a status report of the arbitration no later than June 3, 2024.




                                                       MURPHY, J.
